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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

JAMES ENGLISH,

               Plaintiff,                                         Case No.: 1-23-cv-00562-JMB

v.                                                                Hon. Jane M. Beckering
                                                                  Magistrate Ray S. Kent
KALAMAZOO PUBLIC SCHOOLS; KALAMAZOO
PUBLIC SCHOOLS BOARD OF EDUCATION; MS.
PATTI SHOLLER-BARBER, IN HER INDIVIDUAL
AND OFFICIAL CAPACITY; MS. TIANNA
HARRISON, IN HER INDIVIDUAL AND OFFICIAL
CAPACITY; MS. JENNIE HILL, IN HER
INDIVIDUAL AND OFFICIAL CAPACITY; MR.
JERMAIN JACKSON, IN HIS INDIVIDUAL AND
OFFICIAL CAPACITY; MS. MEGAN MADDOCK,
IN HER INDIVIDUAL AND OFFICIAL CAPACITY;
MS. TANDY MOORE, IN HER INDIVIDUAL AND
OFFICIAL CAPACITY; MR. KEN GRESCHAK, IN
HIS INDIVIDUAL AND OFFICIAL CAPACITY; AND
MS. CINDY GREEN, IN HER INDIVIDUAL AND
OFFICIAL CAPACITY,

            Defendants.
_______________________________________________/

 Eric D. Delaporte (P69673)                            Craig R. Noland (P30717)
 Kevin F. Lynch (P86671)                               Bogomir Rajsic, III (P79191)
 DELAPORTE LYNCH, PLLC                                 Tracey R. DeVries (P84286)
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                                   JOINT STATUS REPORT
       A Rule 16 Scheduling Conference is scheduled for Tuesday, August 9, 2023, at 11:00 a.m.

before the Hon. Jane M. Beckering. Appearing for the parties as counsel will be:

       For Plaintiff:          Eric D. Delaporte
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       For Defendants:         Bogomir Rajsic, III
                               Tracey R. DeVries

1. Jurisdiction: The basis for the Court’s jurisdiction is: This Court has original jurisdiction
   pursuant to 28 U.S.C. § 1331, § 1343, and § 1367(a) as this case involves federal questions
   and federal civil rights under 42 U.S.C. § 1983.

2. Jury or Non Jury: This case is to be tried before a jury.


3. Judicial Availability: The parties do not agree to have a United States Magistrate Judge
   conduct any and all further proceedings in the case, including trial, and to order entry of final
   judgment.

4. Statement of the Case: This case involves:

Plaintiff’s Statement of the Case:
        Plaintiff filed his Complaint to address Defendants retaliation against him for his attempts
        to hold KPS accountable for the use of KPS public monies, to provide transparency and
        participation in the education of Kalamazoo’s children, and to require adherence to the
        laws, policies, practices, and rules. Plaintiff files his claim under the Whistleblower
        Protection Act (MCL 15.363 et seq.) for his report of various unlawful accounting and
        spending practices by the Board during his tenure at KPS, among various other violations
        of State and Federal law. As a result of Plaintiff’s whistleblowing activities, Defendants
        retaliated against him by removing the “highly effective” rating on his evaluation,
        performing a sham investigation for the sole purpose of firing Plaintiff for fabricated
        reasons, and unlawfully terminating Plaintiff’s employment. Defendants’ retaliation
        caused Plaintiff to be publicly maligned and hindered Plaintiff’s ability to seek alternative
        employment in his chosen field of expertise. Plaintiff now struggles financially, is
        generally shunned in the community, and continues to suffer emotional distress as a result
        of Defendants’ retaliation.

       As such, Plaintiff asserts claims for: Violation of the Whistleblower Protection Act (MCL
       15.363 et seq.; Discharge against Public Policy (plead in the alternative); Intentional
       Infliction of Emotional Distress; Breach of Contract; Implied Contract Based on § 1229 of
       the Revised School Code (plead in the alternative); Violation of 42 USC § 1983; Violation
       of Plaintiff’s Constitutional Liberty Interest in his Good Name; and Violations of Due
       Process under Michigan and Federal Law and Constitutions. Plaintiff seeks monetary and
       equitable remedies for the damages caused by Defendants' unlawful actions.


Defendants’ Statement of the Case: Plaintiff/Counter-Defendant files suit against
Defendant/Counter-Plaintiff Kalamazoo Public Schools (“KPS”), the KPS Board of Education,
KPS’ former Interim Superintendent Cindy Green, and individual KPS Board of Education

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members. Plaintiff theories include due process and equal protection violations asserted under 42
U.S.C. § 1983, and various state-law claims, including violations of Michigan’s Whistleblower
Protection Act (“WPA”), breach of contract, and tort claims. Defendants deny Plaintiff has stated
any viable claim and, in addition to the discussion below, rely on the multiple additional
affirmative defenses they have filed. Additionally, KPS has asserted counterclaims against
Plaintiff for breach of contractual duties and breach of fiduciary duties.

        This case involves Plaintiff actions in his capacity as KPS’ Assistant Superintendent of
Finance and Operations. Plaintiff was employed in this position from June, 2021 until he was
terminated in December, 2022 for acts of gross negligence, misfeasance, and malfeasance in the
course of his duties as the district’s chief financial officer. In this role, Plaintiff was responsible
for the oversight of, among other things, the district’s accounting, accounts payable, and
purchasing. In December, 2022, KPS’ performed an investigation of Plaintiff’s actions as
Assistant Superintendent of Finance and Operations which uncovered substantial wrongdoing
including, among other things, Plaintiff’s authorization of payments of $91,125.59 in KPS funds
on a “foundation” for KPS that was never authorized by the Board of Education. Plaintiff’s actions
with respect to the foundation was not the only wrongdoing uncovered during its investigation.
Ultimately, KPS had numerous independent and sufficient reasons to terminate Plaintiff’s
employment.

        Plaintiff’s WPA claim fails as a matter of law because Plaintiff did not engage in protected
speech or protected activity. Moreover, there is no causal connection between his alleged protected
activity and the alleged retaliation. Even if Plaintiff is able to establish a prima facie claim under
the WPA, KPS had legitimate, non-retaliatory business reasons to terminate Plaintiff’s
employment. Plaintiff’s alternatively-plead theory of a public policy violation is barred as the
WPA is the exclusive remedy available to Plaintiff.

        Plaintiff’s contract-based claims are also legally infirm. Plaintiff did not have a valid,
enforceable contract with KPS. Instead, Plaintiff was an at-will employee that could be terminated
at any time and for any reason. This also militates against Plaintiff’s due process claim. Plaintiff
did not have a property interest in continued employment with KPS as, as such, was not entitled
to any process prior to his termination.

        The municipal liability claims are legally insufficient as Plaintiff has failed to identify any
deficient custom, policy, practice, or procedure of KPS of the KPS Board of Education that caused
a constitutional violation under Section 1983. To the extent Plaintiff asserts individual-capacity
claims against the individual defendants, those claims are redundant to the claims against KPS.
The individual defendants are also entitled to qualified immunity.

        Finally, all of the defendants are immune from Plaintiff’s tort claims. KPS is entitled to
immunity under the Michigan Governmental Tort Liability Act, MCL 491.1407, et seq., and
Plaintiff failed to plead in avoidance of governmental immunity. The individual defendants,
members of the Board of Education and other apex-employees of KPS, are absolutely immune
under MCL 691.1407(5).




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5. Prospects of Settlement: The status of settlement negotiations is:

     The parties have not yet engaged in settlement negotiations.

6. Pendent State Claims:

      This case does include pendent state claims. The parties do not object to this Court’s exercise
of jurisdiction over the pendent claims.

7. Joinder of Parties and Amendments of Pleadings:

      The parties do not anticipate any issue of joinder. It is possible that further amendments to
the pleadings will be necessary. The parties expect to file all motions to amend the pleadings by
October 23, 2023.

8. Disclosures and Exchanges:

           (i) Fed. R. Civ. P. 26 (a)(1) requires initial disclosures unless the court orders
           otherwise. The parties propose the following schedule for Rule 26 (a)(1)
           disclosures:

           Plaintiff: September 22, 2023

           Defendants: September 22, 2023


           (ii) Plaintiffs expect to be able to furnish the names and areas of expertise of
           Plaintiffs’ expert witnesses by December 8, 2023. Defendants expect to be able
           to furnish the names and areas of expertise of Defendants’ expert witnesses by
           January 8, 2024.

           (iii) It would be advisable in this case to exchange written expert witness reports as
           contemplated by Fed. R. Civ. P. 26 (a)(2). Reports, if required, should be exchanged
           according to the following schedule.

                Plaintiffs:    January 9, 2024
                Defendants: February 9, 2024


           (iv) The parties have agreed to make available the following documents without
           the need of a formal request for production.

           All documents identified by the parties in initial disclosures.

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9. Discovery: The parties believe that all discovery proceedings can be completed by April 12,
   2024 (eight months).

       Plaintiff’s Discovery Plan:
               Plaintiff anticipates deposing Defendants and may depose other third-party
               witnesses depending on the contents of Defendants’ disclosures, responses to
               discovery, deposition testimony, and any other information uncovered during
               discovery. Plaintiffs will seek an increase in the presumptive limitations on
               discovery, based primarily on the voluminous email and financial records
               associated with this case and number of Defendants and additional claims raised in
               Defendant’s Counter Claim. At minimum, Plaintiff anticipates requesting an
               increase of fifty (50) interrogatories per Defendant and at least fifteen (15)
               depositions.

              Notwithstanding the requested increase in presumptive limitations, Plaintiff intends
              to issue standard written discovery, including interrogatories, requests for
              production, requests for admission, and may subpoena records from third parties as
              necessary.

       Defendants’ Discovery Plan:

              Defendants anticipate deposing Plaintiff and may depose other witnesses
              depending on the contents of Plaintiff’s disclosures, responses to discovery and
              deposition testimony. Defendants will issue standard written discovery, including
              interrogatories, requests for production, requests for admission, and may subpoena
              records from third parties as necessary. While Defendant Kalamazoo Public
              Schools has filed a counterclaim, discovery necessary for the counterclaim will be
              conducted concurrent with all remaining discovery.

              From Defendants perspective, there is no reason to modify the presumptive
              limitations on discovery in this matter. Defendants do not agree that a
              straightforward employment-law case warrants a deviation from the standard
              presumption of 25 interrogatories contemplated by Fed.R.Civ.P. 33, let alone an
              increase to 50 interrogatories per defendant. Such a deviation would allow Plaintiff
              to serve a total of 500 interrogatories in this matter. This is unnecessary and
              exceeds the proportionality requirements of Fed.R.Civ.P 26(b)(1).

   10. Discovery or Disclosure Electronically Stored Information:

              The parties have discussed the production of electronically stored information and
              suggest that such information be handled as follows:

              The parties will provide electronically stored information on a suitable electronic
              storage device. The parties agree to produce electronically stored information in
              native format, where it exists. The parties anticipate electronic discovery in this

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            case, which is likely to take the form of emails, photographs, videos, and social
            media.

  11. Assertion of Claims of Privilege and Work-Product Immunity After Production:

            Pursuant to Federal Rules of Civil Procedure 502(d) and (e), the parties agree to
            protect privileged and otherwise protected documents and electronically stored
            information (collectively, “documents”) against claims of waiver in the event that
            they are inadvertently produced during the course of this litigation whether
            pursuant to a Court Order, a discovery request, or informal production as follows:

            1. An “Inadvertently Produced Document” is a document produced by a party to
               this litigation that could have been withheld, in whole or in part, based upon a
               legitimate claim of any legally cognizable privilege or evidentiary protection
               including, but not limited to the attorney-client privilege, or the work product
               doctrine.

            2. The production of any Inadvertently Produced Document shall not result in the
               waiver of any privilege or protection associated with such document.

            3. A producing party may demand the return of any Inadvertently Produced
               Document, which demand shall be made to the receiving party’s counsel in
               writing or via email and shall contain information sufficient to identify the
               Inadvertently Produced Document. Within five (5) business days of the
               demand for the Inadvertently Produced Document, the producing party shall
               provide the receiving party with a privilege log for such Inadvertently Produced
               Document consistent with the Federal Rules of Civil Procedure. In the event
               that any portion of the Inadvertently Produced Document contains non-
               privileged material, the producing party shall also provide the receiving party
               with a redacted copy of the Inadvertently Produced Document.

            4. Upon receipt of a written demand for return of an Inadvertently Produced
               Document, the receiving party shall immediately return the Inadvertently
               Produced Document (and any copies thereof) to the producing party and shall
               immediately delete all electronic versions of the document.

            5. The receiving party may object to the producing party’s designation of an
               Inadvertently Produced Document by providing written notice of such
               objection within five (5) business days of its receipt of a written demand for
               the return of an Inadvertently Produced Document. Any such objection shall
               be resolved by the Court after an in camera review of the Inadvertently
               Produced Document. Pending resolution of the matter by the Court, the parties
               shall not use any documents that are claimed to be Inadvertently Produced
               Documents in this litigation.




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12. Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving party
    to ascertain whether the motion will be opposed, and in the case of all nondispositive motions,
    counsel or pro se parties involved in the dispute shall confer in a good-faith effort to resolve
    the dispute. In addition, all nondispositive motions shall be accompanied by a separately filed
    certificate.

     The following dispositive motions are contemplated by each party.

     Plaintiff anticipates filing dispositive motions on each of Plaintiff’s claims and all of
     Defendant’s Counter Claims.

     Defendants anticipate filing a dispositive motion on each of Plaintiff’s claims and will
     consider a dispositive motion on the counterclaim if appropriate.

     The parties anticipate that all dispositive motions will be filed by May 17, 2024.

13. Alternative Dispute Resolution: The parties recommend that this case be submitted to the
    following method(s) of alternative dispute resolution:

   The parties suggest that discovery will be necessary before any alternative dispute resolution
   would be meaningful. To that end, the parties have agreed to court-ordered mediation
   following the deadline for the filing of motions for summary judgment and intend to schedule
   Mediation on or around May 31, 2024.

14. Length of Trial: Counsel estimates the trial will last approximately eight (8) full days total,
    allocated as follows:

       Five (5) days for Plaintiff’s case, three (3) days for Defendants’ case.

       The parties’ estimate is inclusive of voir dire, opening and closing statements, jury
       instructions, and other miscellaneous trial activities.

15. Electronic Document Filing System: Both parties acknowledge that the Local Civil Rule
    5.7(a) requires all documents to be filed electronically and counsel will abide by this rule.

16. Other: Any special characteristics that may warrant extended discovery, accelerated
    disposition by motion or other factors relevant to the case.

       None at this time.




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/s/ Eric D. Delaporte                    /s/ Bogomir Rajsic, III
                                         Signed by Eric D. Delaporte with
                                         permission of Bogomir Rajsic, III

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Dated: August 2, 2023                    Dated: August 2, 2023




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